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                                   STATEMENT OF FACTS

        Your affiant, Robert M. Hamilton, is employed as a Joint Terrorism Task Force Officer by
the Federal Bureau of Investigation (“FBI”). Specifically, I am assigned to the Columbia Field
Office, Joint Terrorism Task Force, tasked with the investigation of criminal violations of Federal
Law. As a Federally sworn Task Force Officer, I am authorized by law or by a Government agency
to engage in or supervise the prevention, detention, investigation, or prosecution of a violation of
Federal criminal laws.

        The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is secured 24
hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include permanent and
temporary security barriers and posts manned by U.S. Capitol Police. Only authorized people with
appropriate identification are allowed access inside the U.S. Capitol. On January 6, 2021, the
exterior plaza of the U.S. Capitol was also closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At approximately 2:00 p.m., certain individuals in the crowd forced their way through, up,
and over the barricades, and officers of the U.S. Capitol Police, and the crowd advanced to the
exterior façade of the building.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts. The crowd was not lawfully authorized to enter or remain in the building
and, prior to entering the building, no members of the crowd submitted to security screenings or
weapons checks by U.S. Capitol Police Officers or other authorized security officials.

        Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings
of the United States Congress, including the joint session, were effectively suspended until shortly

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after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry
to the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol
without any security screening or weapons check, Congressional proceedings could not resume
until after every unauthorized occupant had left the U.S. Capitol, and the building had been
confirmed secured. The proceedings resumed at approximately 8:00 pm after the building had
been secured. Vice President Pence remained in the United States Capitol from the time he was
evacuated from the Senate Chamber until the session resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        Publicly-available video footage taken inside the U.S. Capitol Building on January 6, 2021
showed an individual inside the Crypt, shown in Figure 1, who appears to be an older white male
with brown hair and receding hairline wearing a blue medical style face mask that was pulled down
to his chin. The subject is wearing a green camouflage jacket with a green shirt underneath. Based
on this footage, the FBI made efforts to identify the person, and determined that he appeared to
match known images of LINWOOD ROBINSON, with an FBI number ending in T06W, from a
2019 arrest. LINWOOD ROBINSON’s 2019 booking photograph is shown in Figure 2. The
South Carolina DMV photograph of LINWOOD ROBINSON also appeared to match the
individual shown in Figures 1 and 2.




                     Figure 1                                           Figure 2

       According to law enforcement databases, the Verizon Wireless cellular telephone number
(XXX) XXX-7711 is associated with LINWOOD ROBINSON. According to records obtained
through a search warrant served on Verizon Wireless, on January 6, 2021, that same cell phone
number was identified as having utilized a cell site consistent with providing service to a
geographic area that included the interior of the U.S. Capitol building. Based on the review of
LINWOOD ROBINSON’s photos, combined with the use of his cell phone at the U.S. Capitol on
January 6, 2021, agents determined that LINWOOD ROBINSON was likely the individual,

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pictured in Figures 1 and 2, who entered the U.S. Capitol illegally on January 6, 2021. FBI agents
called that cell phone number on May 17, 2021, and the person who answered affirmed that he
was LINWOOD ROBINSON. The next day, agents visited the listed address for LINWOOD
ROBINSON in Fort Mill, South Carolina, and met LINWOOD ROBINSON in person. He
confirmed he was indeed LINWOOD ROBINSON.

        US Capitol Closed Circuit Video (CCV) footage, excerpted below, shows LINWOOD
ROBINSON inside the Capitol Building, as shown in the photos below. ROBINSON is identified
in these photos with a blue circle. During the course of the CCV review, federal agents determined
that four individuals were consistently observed with LINWOOD ROBINSON while inside the
U.S. Capitol Building. As described below, these four individuals were later identified as
ROBINSON’s two sons LINWOOD ALAN ROBINSON II (identified in the photos below with a
yellowish green circle) and BENJAMIN SCOTT ROBINSON (with orange circle), his daughter-
in-law (Linwood Robinson II’s wife) BRITTANY NICOLE ROBINSON (with green circle), and
his grandson (with red circle).1




        In an effort to determine the identity of these five individuals, FBI agents interviewed a
witness who has known the whole Robinson family for several years. The witness had at one time
been involved in a romantic relationship with a member of the Robinson family. Although that
relationship ended, the witness continued to have access to the Robinson family through Facebook.

       Social media investigation led agents to a Facebook page in the name of a member of the
Robinson family. The cover photograph of this Facebook account depicted a wedding. In the
photograph, shown below, the witness identified LINWOOD ROBINSON, LINWOOD ALAN
ROBINSON II, BENJAMIN SCOTT ROBINSON, and the grandson’s mother, all members of the
Robinson family.



       1
         According to public records, LINWOOD ROBINSON’s grandson was a minor on
January 6, 2021. I have reviewed unredacted video to determine his identity, but have redacted
his name and image for purposes of this complaint.
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                                              LINWOOD
                                             ROBINSON’S
                                             GRANDSON




       The witness was shown a photo taken from the Facebook page of BRITTANY ROBINSON
and identified her as LINWOOD ALAN ROBINSON II’s wife BRITTANY. The witness was
also shown a printout from South Carolina Department of Motor Vehicles photo of LINWOOD
ROBINSON’s grandson, and identified him by name.

       The witness was also shown at least eight still images from inside and just outside the
Capitol Building on January 6, 2021, shown below. The witness identified LINWOOD
ROBINSON, LINWOOD ALAN ROBINSON II, BENJAMIN SCOTT ROBINSON, and
BRITTANY ROBINSON in those photos, as shown below circled with the same colors.




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        CCV footage and videos taken by other rioters and members of the media show that all
five ROBINSON family members entered the U.S. Capitol through the Senate Wing Door at
approximately 2:17 p.m., around five minutes after the first rioters breached the building by
breaking windows and forcing open those very doors. From there, all five ROBINSON family
members went down the hall to the Crypt on the first floor and were part of the group that breached
the police line to gain access to the rest of the building. The five ROBINSON family members

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walked down the hallway toward the House Wing Door, then up the small spiral stairs to the
corridor west of the Rotunda and Statuary Hall where the Speaker’s office is located. They walked
into the Speaker’s office suite for a few moments, and exited from across the suite through a
different door. Then they walked through Statuary Hall to join a growing crowd amassing outside
of the House chamber. From there, they moved to an opening to the east and walked down the
House corridors toward the southeast doors.

        In that hallway, the ROBINSON family members, along with a small group of other rioters,
confronted a Capitol employee who recalled in an interview with the FBI that the people were
asking where the bathrooms were, and that they didn’t know where inside the Capitol building
they were. Very shortly after that, LINWOOD ALAN ROBINSON II and his family members ran
back to the crowd at the House chamber door and waved them over to follow, as shown below.
BRITTANY ROBINSON and BENJAMIN SCOTT ROBINSON joined in the call and wave to
indicate people should follow them, as pictured next.




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        According to these videos, the crowd followed down the hall where the ROBINSON family
members waved, and all five ROBINSON family members walked toward the Speaker’s Lobby
door. The ROBINSONS were among the people closest to the internal doorway to the House.
Officers attempting to protect the Speaker’s Lobby Door were forced to retreat by the escalating
violence from the crowd. Rioters in the front of the crowd broke the glass windows leading to the
House. Multiple people warned the group, “he’s got a gun,” or simply, “gun,” referring to the
officers on the other side of the glass-paned door. Just after that warning, BENJAMIN SCOTT
ROBINSON used his body and foot to pound the door. At the same time, a rioter, later identified
in news reports as Ashli Babbitt, was climbing up and through the broken window, and a shot was
fired moments later. After the shot was fired, all five ROBINSON family members left the area
and exited the building together through the southeast doors at approximately 2:46 p.m.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
LINWOOD ROBINSON; LINWOOD ALAN ROBINSON II; BENJAMIN SCOTT ROBINSON;
and BRITTANY NICOLE ROBINSON violated 18 U.S.C. § 1752(a)(1) and (2), which makes it
a crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions; or attempts
or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

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        Your affiant further submits that there is probable cause to believe that LINWOOD
ROBINSON; LINWOOD ALAN ROBINSON II; BENJAMIN SCOTT ROBINSON; and
BRITTANY NICOLE ROBINSON violated 40 U.S.C. §§ 5104(e)(2)(D) & (G), which makes it a
crime to willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in
disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings
with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or either
House of Congress, or the orderly conduct in that building of a hearing before, or any deliberations
of, a committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket
in any of the Capitol Buildings.




                                                      _________________________________
                                                      Robert M. Hamilton
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 16th day of May 2022.


                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE




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